
717 S.E.2d 737 (2011)
STATE of North Carolina
v.
Robert Lee Earl JOE.
No. 333PA11.
Supreme Court of North Carolina.
October 6, 2011.
Derrick Mertz, Assistant Attorney General, for State of North Carolina.
Ann B. Peterson, for Joe, Robert Lee Earl.
Thomas J. Keith, District Attorney, for State of North Carolina.
Upon consideration of the petition filed on the 8th of August 2011 by State of NC in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Allowed by order of the Court in conference, this the 6th of October 2011."
Therefore the case is docketed as of the date of this order's certification. Briefs of the respective parties shall be submitted to this Court within the times allowed and in the manner provided by Appellate Rule 15(g)(2).
